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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


                                               )
UNITED STATES OF AMERICA,                      )
                                               )
               v.                              )
                                               )
MARIIA BUTINA, a/k/a,                          )    Criminal Action No. 18-cr-218 (TSC)
MARIA BUTINA                                   )
                                               )
Defendant.                                     )
                                               )

                                 ORDER TO SHOW CAUSE
       The court has received multiple motions by third parties identifying themselves as

students at American University. The movants ask this court to quash a subpoena duces tecum

served on American University by counsel for the Defendant.

       By 5:00 pm today Friday September 21, 2018, counsel for the Defendant shall file a copy

of the subpoena on the record and shall SHOW CAUSE why the court should not quash the

subpoenas.

       Attached to this order is a redacted copy of one of the motions; all of the motions contain

the same wording. Redacted versions of the motions will be entered on the record as soon as

possible.




Date: September 21, 2018


                                             Tanya S. Chutkan
                                             TANYA S. CHUTKAN
                                             United States District Judge
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